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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 VALERIE KLOOSTERMAN,

        Plaintiff,
                                                            Case No. 1:22-cv-944
 v.
                                                            HON. JANE M. BECKERING
 METROPOLITAN HOSPITAL, et al.,

        Defendants.
 ____________________________/

                                           ORDER

       Plaintiff initiated this action on October 11, 2022 with the filing of a Complaint (ECF

No. 1). Pending before the Court are two motions to dismiss, filed by Defendant Metropolitan

Hospital (ECF No. 16) and Defendants Rakesh Pai, Rhae-Ann Booker, Marla Cole, Thomas

Pierce, and Catherine Smith (ECF No. 23). On January 30, 2023, as allowed by Rule 15(a)(1)(B)

of the Federal Rules of Civil Procedure, Plaintiff filed a First Amended Complaint (ECF No. 30,

corrected by ECF No. 32). Because the First Amended Complaint supersedes the Complaint, see

In re Refrigerant Compressors Antitrust Litig., 731 F.3d 586, 589 (6th Cir. 2013), Defendants’

pending motions are moot. Accordingly,

       IT IS HEREBY ORDERED that Defendants’ motions to dismiss (ECF Nos. 16 & 23) are

DISMISSED as moot.

       IT IS FURTHER ORDERED that Defendants’ motion to stay discovery (ECF No. 26) is

DISMISSED as moot.


Dated: February 1, 2023                                    /s/ Jane M. Beckering
                                                          JANE M. BECKERING
                                                          United States District Judge
